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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                   Plaintiff,                                 4:13CR3003
      vs.
                                                                ORDER
IRMA CRISPIN-GOMEZ,
                   Defendant.


      Defendant’s response to the government’s motion to continue, (Filing No. 38),
shall be filed on or before noon on March 26, 2014, in the absence of which the motion
will be deemed unopposed.


      March 18, 2014.

                                                BY THE COURT:
                                                s/ Cheryl R. Zwart
                                                United States Magistrate Judge
